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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDWARD KOMITO,                                          :
                                                        :
                                  Plaintiff,            :            CIVIL ACTION NO. 18-2824
                                                        :
        v.                                              :
                                                        :
LEXISNEXIS RISK SOLUTIONS INC.,                         :
REED ELSEVIER, INC., and RELX                           :
GROUP,                                                  :
                                                        :
                                  Defendants.           :

                                                   ORDER

        AND NOW, this 17th day of August, 2018, after considering the motion for exemption

from payment of the PACER user fee filed by the pro se plaintiff, Edward Komito (Doc. No. 9); 1

and it appearing that the pro se plaintiff seeks an exemption from having to pay the Electronic

Public Access fees set forth in the Electronic Public Access Fee Schedule adopted by the Judicial

Conference of the United States Courts; 2 and it appearing that as an indigent party, the plaintiff

falls within the class of users listed in the fee schedule as being eligible for a fee exemption, see

Electronic Public Access Fee Schedule at ¶ 9 (“Courts may exempt certain persons or classes of

persons from payment of the user access fee. Examples of individuals and groups that a court

may consider exempting include: indigents . . . .”); and

        IT APPEARING THAT the plaintiff has demonstrated that an exemption is necessary to

order to avoid unreasonable burdens and to promote public access to information; accordingly, it

is hereby ORDERED as follows:

        1.       The motion for an exemption (Doc. No. 9) is GRANTED and the plaintiff is

exempted from the payment of fees for access via PACER to the electronic case files maintained

1
 The plaintiff is advised that any motions filed with the court should contain a proposed order.
2
 In the motion, the plaintiff references the fees set forth in 28 U.S.C. § 1930. See Mot. Exemption Payment PACER
User Fee at 1. This statute refers to the fees for bankruptcy matters, and is inapplicable to this matter.
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in this court, to the extent such use is incurred in the course of this action only. The plaintiff

shall not be exempt from the payment of fees incurred in connection with other uses of the

PACER system in this court.        Additionally, the following limitations apply:    (1) This fee

exemption applies only to and is valid only for the purpose stated above; (2) this fee exemption

applies only to the electronic case files of this court that are available through the PACER

system; (3) the plaintiff, by accepting this exemption, agrees not to sell for profit any data

obtained as a result of receiving this exemption; (4) the plaintiff is prohibited from transferring

any data obtained as a result of receiving this exemption (unless specifically authorized by the

court); and (5) this exemption is valid only until this action is terminated. The court may revoke

this exception at any time at the discretion of the court; and

       2.         The clerk of court is DIRECTED to email a copy of this order to the PACER

service center.

                                                      BY THE COURT:



                                                      /s/ Edward G. Smith
                                                      EDWARD G. SMITH, J.




                                                  2
